   Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 1 of 6



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA   )
                           )                  CRIMINAL ACTION NO.
     v.                    )                     2:21cr455-MHT
                           )                          (WO)
WILLIAM COLON EASTERLING, )
BRENT COLON EASTERLING,    )
WILLIAM TYLER EASTERLING, )
And                        )
GEORGE WILLIAM EASTERLING, )


                                    ORDER

       This cause is before the court on defendant George

William Easterling’s motion to continue the trial, as

well as defendant William Colon Easterling’s and the

government’s oral motions to continue the trial made on

the record today.       For the reasons set forth below, the

court finds that jury selection and trial, now set for

June    13,   2022,   should        be    continued    pursuant   to    18

U.S.C.     § 3161,      as     to        defendants    William    Colon

Easterling,     Brent        Colon       Easterling,    William   Tyler

Easterling, and George William Easterling.

       While the granting of a continuance is left to the

sound discretion of the trial judge, see United States
      Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 2 of 6




v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court     is   limited       by   the    requirements      of   the   Speedy

Trial Act, 18 U.S.C. § 3161.                 The Act provides in part:

       “In any case in which a plea of not guilty is
       entered, the trial of a defendant charged in
       an   information   or  indictment   with   the
       commission of an offense shall commence within
       seventy days from the filing date (and making
       public) of the information or indictment, or
       from the date the defendant has appeared
       before a judicial officer of the court in
       which such charge is pending, whichever date
       last occurs.”

§ 3161(c)(1).           The Act excludes from the 70-day period

any    “period     of    delay     resulting     from     the   absence     of

unavailability          of     the      defendant    or    an    essential

witness.”         § 3161(h)(3)(A).             It   also    excludes       any

continuance based on “findings that the ends of justice

served by taking such action outweigh the best interest

of the public and the defendant in a speedy trial.”

§ 3161(h)(7)(A).             In granting such a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance “would be likely to


                                         2
      Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 3 of 6




...       result           in      a      miscarriage            of      justice,”

§ 3161(h)(7)(B)(i),               or     “would       deny     counsel       for   the

defendant       or        the     attorney       for     the     Government        the

reasonable          time    necessary          for    effective       preparation,

taking       into    account       the     exercise      of     due    diligence,”

§ 3161(h)(7)(B)(iv).

       The     court        concludes          that,     in      this     case,       a

continuance          is    warranted       because       it     appears       that    a

defendant and an essential witness will likely both be

unavailable for trial on June 13, and because the ends

of justice served by granting a continuance outweigh

the interest of the public and all four defendants in a

speedy       trial.             During    the        conference       call    today,

counsel for the government represented that one of the

government’s key witnesses will be unavailable on June

13 due to a family member’s medical procedure, and that

the     government’s            case     cannot        proceed    without          him.

Additionally,             counsel        for    defendant        William       Colon

Easterling represented that his health has deteriorated

                                           3
     Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 4 of 6




significantly in the past week, and that he will likely

be unable to participate in his trial if it is held on

June 13.          In light of these developments, the court

finds that it would be impracticable to hold the trial

on June 13, and that the interests of justice demand

that the trial be postponed until the government’s key

witness      is    available       and     defendant     William    Colon

Easterling        is     healthy   enough     to    participate.           In

addition, none of the other three defendants objects to

either motion.

      Because      the    court    finds    an     exclusion    from      the

Speedy     Trial       Act’s   70-day    period     appropriate    as      to

defendant William Colon Easterling, the same exclusion

is appropriate as to the other three defendants.                          See

18    U.S.C.       § 3161(h)(6)      (excluding        “[a]    reasonable

period of delay when the defendant is joined for trial

with a codefendant as to whom the time for trial has

not run and no motion for severance has been granted”);

United States v. Struyf, 701 F.2d 875, 878 (11th Cir.

                                     4
      Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 5 of 6




1983)     (“Section      3161(h)[6]        ...   makes   clear    that     ‘an

exclusion applicable to one defendant applies to all

codefendants.’”) (quoting United States v. Fogarty, 692

F.2d 542, 546 (8th Cir. 1982)).                  Therefore, and because

the     court     will    grant     the      government’s        motion     to

continue      the   trial    as   to       all   defendants,     the   court

denies as moot defendant George William Easterling’s

motion to continue the trial.



                                    ***

       Accordingly, it is ORDERED as followed:

       (1) The government’s oral motion to continue trial

(Doc. 164) is granted as to all defendants.

       (2)    Defendant      William        Colon    Easterling’s         oral

motion to continue trial (Doc. 165) is granted.

       (3) Defendant George William Easterling’s motion to

continue trial (Doc. 148) is denied as moot.

       (4) The jury selection and trial, now set for June

13, 2022, are reset for August 8, 2022, at 10:00 a.m.,

                                       5
   Case 2:21-cr-00455-MHT-SMD Document 171 Filed 05/31/22 Page 6 of 6




in Courtroom 2FMJ of the Frank M. Johnson Jr. United

States     Courthouse       Complex,       One     Church       Street,

Montgomery,     Alabama,    as    to   defendants     William     Colon

Easterling,     Brent     Colon     Easterling,       William     Tyler

Easterling, and George William Easterling.

    The United States Magistrate Judge shall reset all

appropriate     pretrial    deadlines      in    light     of   the     new

trial    date   and   conduct      another      pretrial    conference

prior to the August trial term.

    DONE, this the 31st day of May, 2022.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




                                   6
